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                                  UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF TEXAS
                                        SAN ANTONIO DIVISION


      In re:                                                     Case No. 22-51475-cag

      4th Avenue Apartments, LLC 1                               Chapter 11

                Debtor.


                          DEBTOR’S EMERGENCY MOTION FOR ORDERS
                       (I) AUTHORIZING THE USE OF CASH COLLATERAL,
                  (II) GRANTING ADEQUATE PROTECTION, (III) MODIFYING
               THE AUTOMATIC STAY, AND (IV) SCHEDULING A FINAL HEARING


  TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

               4th Avenue Apartments, LLC, the debtor and debtor in possession in the above captioned

  chapter 11 case (the “Debtor”), hereby files this Emergency Motion for Orders (I) Authorizing the

  Use of Cash Collateral, (II) Granting Adequate Protection, (III) Modifying the Automatic Stay,

  (IV) Scheduling a Final Hearing, and (V) Granting Related Relief (the “Motion”). In support of

  the Application, the Debtor submits the declaration of Samuel F. Sells (the “Sells Declaration”),

  attached as Exhibit A hereto, the Mortgage Note (the “Note”), attached as Exhibit B hereto, the

  Multifamily Mortgage, Assignment of Leases and Rents, Security Agreement and Fixture Filing

  (the “Rent Assignment”), attached as Exbibit C hereto, and respectfully states as follows:


                                                  JURISDICTION

               1.      This Court has jurisdiction over this application pursuant to 28 U.S.C. § 1334. This

  is a core proceeding pursuant to 28 U.S.C. § 157(b).


  1
               The last four digits of the Debtor’s Employment Identification Number is 8487. The Debtor’s mailing
               address is: 2115 Stephens Place, Suite 1100, New Braunfels, TX 78130.
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         2.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.     The bases for the relief sought are sections 362 and 363 of title 11 of the United

  States Code, 11 U.S.C. §§ 101 – 1532 (as amended, the “Bankruptcy Code”), rules 4001 of the

  Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 4001 of the Local

  Rules for the United States Bankruptcy Court for the Western District of Texas (the “Local

  Rules”).

                                         BACKGROUND

         A.     Case Background

         4.     On December 29, 2022 (the “Petition Date”), the Debtor filed a voluntary petition

  for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

  Western District of Texas, San Antonio Division (the “Bankruptcy Court”).

         5.     The Debtor continues to operate its business and manage its property as a debtor in

  possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request for the

  removal of the Debtor as debtor in possession has been made in this chapter 11 case.

         6.     The Debtor is a Texas limited liability company that was formed on February 3,

  2021. The Debtor’s ownership is comprised of two classes: Class A and Class B. Class A

  members consist of 31 individuals and 1 entity who collectively have an 85% equity stake in the

  Debtor. The Class B shares are held as follows: Wild Mountain Holdings, LLC with a 14% stake

  and 5th Avenue Financial Group, Inc, with a 1% stake.

         7.     The Debtor is a single-asset real estate entity that owns a multifamily apartment

  complex with 52 units. On March 5, 2021, the Debtor purchased the Property. On the same day,

  the Debtor entered into a real estate mortgage agreement (the “Mortgage”) with IRock Loans, LLC

  (the “Lender”) in the amount of $1,700,000.00 to purchase the property known as 4th Avenue

  Apartments (the “Property”), located at 2300 4th Avenue, Phenix City, Alabama 36867, Russell

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  County. The Lender holds a first lien mortgage and an assignment of rents on the Property. Based

  on the Debtor’s review, the mortgage and assignment of rents are properly filed and perfected.

          8.      The Debtor is one of several sister companies that purchase and refurbish

  residential real estate as attractive investment opportunities for passive income. The Property and

  other sister properties are managed by Platinum Property Management, LLC, a Texas limited

  liability company (“PPM”). PPM collects rents from the Property.

          9.      The Property is a 52-unit garden-style apartment community built between 1950

  and 1956 in Phenix City, Alabama, part of the Columbus, Georgia Metropolitan Statistical Area,

  and directly across the Chattahoochee River from Fort Benning. The Property comprises 13

  buildings totaling 59,200 sq. ft. at an average of 1,138 sq. ft. per unit.

          10.     At the time of its purchase, the Property had been nearly abandoned and in total

  neglect. Of the 52 units, only 6 contained residents and only a handful of those were paying rents

  and many of the buildings had been condemned by the city. The Phenix City officials have been

  incredibly supportive of the Debtor’s efforts, and the Debtor has created a community that provides

  clean, safe, and affordable housing. Now, the Property has a 65% occupancy rate.

          11.     Since its acquisition, the Debtor encountered problems with rehabilitating the

  Property which has prevented it from achieving its business plan. As a result, the Debtor has not

  been able to achieve the rental revenue it expected and the currently the rents are not sufficient to

  pay all the ordinary costs to maintain the property and the mortgage payments. Most recently, the

  Lender has posted the property for foreclosure within Russell County, Alabama set for December

  29, 2022.

          12.     On or about December 21, 2022, the Debtor engaged in a new capital raise from its

  existing equity owner to raise the capital necessary to file, confirm, and implement a successful



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  chapter 11 plan.    The Debtor raised $300,000 in new cash and received commitments for an

  additional $300,000.    The Debtor will use this fund to implement a chapter 11 plan including

  make a payment to the Lender and pay capital expenditures to complete the rehabilitation of the

  Property and also pay holding costs for the Property.

         13.     Additional information about the Debtor’s business and affairs, prepetition

  indebtedness, and the events leading up to the Petition Date can be found in the Declaration of

  Samuel F. Sells in Support of the Debtor’s Voluntary Petition and First Day Motions [Dkt. No. 3],

  which is incorporated herein by reference.

         B.      Necessity for Requested Relief

         14.     The Debtor generates cash collateral (the “Cash Collateral”) from the operation of

  its business when it collects rents from its tenants. The Debtor must obtain approval for the use of

  the Cash Collateral and the Debtor to have access to its cash to continue to operate in the ordinary

  course of business and to pay normal operating expenses. The Debtor has requested from the

  Lender its consent to rents from the Property, but the Lender has refused.

         15.     The Debtor will need to use its Cash Collateral to meet its ongoing post-petition

  obligations. In order to continue operations as normal and to preserve the value of the estate

  pending confirmation of a plan of reorganization, the Debtor needs immediate authority to use the

  Cash Collateral.

         16.     The Debtors will provide adequate protection to the Lender as follows: (i) providing

  a replacement lien on existing collateral, (ii) continuing to make interest payments at the contract




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  rate 2 and (iii) compliance with a cash collateral budget, and (iv) continuing to pay costs to preserve

  and enhance the value of the Property.

         17.      Furthermore, the Debtor intends to have all PPM deposit all of its rental payments

  received from the Property into a separate debtor in possession account.

         18.      Lastly, the Debtor requests that the Court grant the Lender senior secured,

  superpriority replacement liens on the Property and its rental income.

         C.       Alabama Law in Relation to Assignment of Rents

         19.      Courts look to state law to determine debtors’ interests in property. Butner v.

  United States, 440 U.S. 48, 54–55 (1979). Under Alabama state law 3, the proper effect of an

  assignment of rents clause must be gleaned from the intent of the parties as exhibited in the

  language of the clause itself. In re Turtle Creek, LTD., 194 B.R. 267, 278-79 (Bankr. N.D. Ala.

  1996) (“a close reading of the mortgage indicates that the assignment of rents was intended only

  as security for the debt. Paragraph one of the mortgage provides that it was given for the purpose

  of securing the prompt payment of the indebtedness . . . Further, the assignment of rents provision



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         This satisfies the requirement in Section 362(d)(3)(B)(ii), which states the following: “[w]ith respect to a stay
         of an act against single asset real estate under subsection (a), by a creditor whose claim is secured by an
         interest in such real estate, unless, not later than the date that is 90 days after the entry of the order for relief
         (or such later date as the court may determine for cause by order entered within that 90-day period) or 30
         days after the court determines that the debtor is subject to this paragraph, whichever is later the debtor has
         filed a plan of reorganization that has a reasonable possibility of being confirmed within a reasonable time;
         or the debtor has commenced monthly payments that: may, in the debtor’s sole discretion, notwithstanding
         section 363(c)(2), be made from rents or other income generated before, on, or after the date of the
         commencement of the case by or from the property to each creditor whose claim is secured by such real estate
         (other than a claim secured by a judgment lien or by an unmatured statutory lien); and are in an amount equal
         to interest at the then applicable nondefault contract rate of interest on the value of the creditor’s interest in
         the real estate.” Under the Note, the interest rate is 10.00%. See Note, pp. 1.
  3
         Section 12 of the Rent Assignment states that the document is governed “by the laws of the Property
         Jurisdiction without giving effect to any choice of law provisions thereof that would result in the application
         of the laws of another jurisdiction.” Per Section 1 of the Rent Assignment, “Property Jurisdiction” means
         the jurisdiction in which the Land is located. Because the Property is in Phenix City, Alabama, Alabama law
         governs the Rent Assignment.



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  specifically provided that the assignment was given for the purpose of discharging the debt hereby

  secured”).   However, courts have found that certain language can constitute an absolute

  assignment. See e.g., Homecorp v. Secor Bank, 659 So.2d 15 (Ala. 1995) (Alabama Supreme

  Court found that he assignment of rents was absolute based on the explicit language under the

  mortgage documents: “The assignment of the rents . . . of the Mortgaged Property in this Article

  II is intended to be an absolute assignment from the Mortgagor to the Mortgagee and not merely

  the passing of a security interest.”). See also In re McCombs, No. 11-01293-MAM-11, 2011 WL

  4458893, at *3 (Bankr. S.D. Ala. Sept. 23, 2011) (court found that contracted language could only

  show intent to be an absolute assignment).

         20.     In the above-referenced case, Section 3(a) of Rent Assignment contains language

  with a specific mention that the assignment of rents is not just for security.

                 As part of the consideration for the Indebtedness, Borrower
                 absolutely and unconditionally assigns and transfers to Lender all
                 Leases and Rents. It is the intention of Borrower to establish present,
                 absolute and irrevocable transfers and assignments to Lender of all
                 Leases and Rents and to authorize and empower Lender to collect
                 and receive all Rents without the necessity of further action on the
                 part of Borrower. Borrower and Lender intend the assignments of
                 Leases and Rents to be effective immediately and to constitute
                 absolute present assignments, and not assignments for additional
                 security only. Only for purposes of giving effect to these absolute
                 assignments of Leases and Rents, and for no other purpose, the
                 Leases and Rents shall not be deemed to be a part of the Mortgaged
                 Property. However, if these present, absolute and unconditional
                 assignments of Leases and Rents are not enforceable by their terms
                 under the laws of the Property Jurisdiction, then each of the Leases
                 and Rents shall be included as part of the Mortgaged Property, and
                 it is the intention of Borrower, in such circumstance, that this
                 Security Instrument create and perfect a lien on each of the Leases
                 and Rents in favor of Lender, which liens shall be effective as of the
                 date of this Security Instrument.

  Rent Assignment, Section 3(a).




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           21.    However, a further reading allows for the Debtor a license to collect and receive all

  rents:

                  Until an Event of Default has occurred and is continuing, but subject
                  to the limitations set forth in the Loan Documents, Borrower shall
                  have a revocable license to exercise all rights, power and authority
                  granted to Borrower under the Leases (including the right, power
                  and authority to modify the terms of any Lease, extend or terminate
                  any Lease, or enter into new Leases, subject to the limitations set
                  forth in the Loan Documents), and to collect and receive all Rents,
                  to hold all Rents in trust for the benefit of Lender, and to apply all
                  Rents to pay the Monthly Debt Service Payments and the other
                  amounts then due and payable under the other Loan Documents,
                  including Imposition Deposits, and to pay the current costs and
                  expenses of managing, operating and maintaining the Mortgaged
                  Property, including utilities and Impositions (to the extent not
                  included in Imposition Deposits), tenant improvements and other
                  capital expenditures. So long as no Event of Default has occurred
                  and is continuing (and no event which, with the giving of notice or
                  the passage of time, or both, would constitute an Event of Default
                  has occurred and is continuing), the Rents remaining after
                  application pursuant to the preceding sentence may be retained and
                  distributed by Borrower free and clear of, and released from,
                  Lender’s rights with respect to Rents under this Security Instrument.

  Rent Agreement Section 3(b).

           22.    While the Homecorp court found that the mortgagor had made an absolute

  assignment of rents to the lender, other courts have found that taking the agreement as a whole,

  and not just specific provisions, shows an intent by the parties for rental income to be used as

  collateral. See e.g. In re Buttermilk Towne Center, LLC, 442 B.R. 558 (B.A.P. 6th Cir. 2010)

  (detailing cases from various jurisdictions addressing the issue). In determining whether an

  assignment of rents was absolute or collateral, those courts considered the substance of the clause

  as a whole to give effect to the parties’ intent, rather than taking isolated statements as dispositive.

  As stated by the Buttermilk Towne Center LLC court, “While isolated portions of the assignment

  may appear absolute, when read in the context of the entire document, it is clear that the assignment



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  was intended to serve as additional security only.” Id. at 564. See also Andrews v. RBL, L.L.C.

  (In re Vista Bella, Inc.), No. 11-00149-MAM-7, 2013 WL 4051031, at *7 (Bankr. S.D. Ala. Aug.

  9, 2013) (“Since that time, this court has had occasion to revisit the McCombs holding (in a few

  oral rulings) and has decided that the better result is that an ‘absolute assignment,’ which carries

  all of the hallmarks of being assigned for security purposes only, does not divest a debtor of all

  property interest in the absolutely assigned property”).

         23.     It is clear that the Debtor and the Lender intended the rents be used as security for

  payment on the underlying mortgage. At the very least, even if the language of the Rent

  Assignment is an absolute assignment, the Court should adopt the trends, as stated under Vista

  Bella and Buttermilk Towne Center LLC, that the Debtor is not divested of an interest in the rent

  and thus, should be granted its use under Section 363.

                                       RELIEF REQUESTED

         24.     The Debtor requests that the Court enter an order substantially in the form of the

  proposed order attached hereto (the “Proposed Order”) authorizing the Debtor to use Cash

  Collateral in the ordinary course of its business and on an interim basis and on a final basis after a

  final hearing on this Motion.

                                        BASIS FOR RELIEF

         25.     Under section 363(c)(2) of the Bankruptcy Code, the Debtor may not use Cash

  Collateral without the Lender’s consent. If no consent is given by the Lender, then section 363(e)

  allows the Court to grant the Debtor authority to use Cash Collateral upon the provision of adequate

  protection to the Lender.

         26.     Debtor requires the continued authority to use Cash Collateral on an interim period

  pursuant to the cash collateral budget. Upon entry of a final order, the Debtor intends to use Cash



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  Collateral through the effective date of confirmation of a plan of reorganization and give the

  Lender the same adequate protection that is contemplated that will be provided in the interim order.

         27.     Debtor also requests that this Court schedule a hearing for final approval on the use

  of Cash Collateral, on notice to creditors and parties in interest.

         28.     The immediate and temporary approval for the use of the Cash Collateral is

  consistent with (i) Bankruptcy Code requirements for maintaining the going concern of a debtor’s

  business operations; (ii) the law under sections 361 and 363 of the Bankruptcy Code as to the use

  of cash collateral and adequate protection; and (iii) facilitating a successful reorganization under

  chapter 11 of the Bankruptcy Code.

         29.     The failure to authorize the immediate use of Cash Collateral will result in the

  Debtor’s not having the sufficient funds to run its business and this chapter 11 case will fail.

         30.     The Bankruptcy Code contemplates a debtor’s use of collateral during the

  reorganization of its business. Sections 102(1) and 363 of the Bankruptcy Code provide that

  collateral may be used upon notice and opportunity for a hearing appropriate in the particular

  circumstances. Relief may be authorized without an actual hearing if there is insufficient time

  available and adequate protection has been provided. 11 U.S.C. § 363(e). The combination of

  Debtor’s emergency needs to satisfy pending obligations and current operating needs, together

  with the provision of the adequate protection the Debtor is offering to the Lender is more than

  sufficient to authorize the use of the Cash collateral as set forth herein.

         31.     Debtor requests permission to pay its usual and customary operating expenses of

  the same type and approximate amounts set forth on its budget.




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                                          CONCLUSION

        WHEREFORE, the Debtor requests that the Court authorize the use of Cash Collateral on

 an interim basis and, upon setting and conducting a final hearing, issue a final order authorizing

 the use of cash collateral with the adequate protection to the Lender as set forth herein, and grant

 any other and further relief to which Debtor is entitled.


 Respectfully submitted this 29th day of December, 2022


                                                       PARKINS & RUBIO LLP

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                                                       PROPOSED COUNSEL TO THE
                                                       DEBTOR AND DEBTOR IN
                                                       POSSESSION




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                                  UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF TEXAS
                                        SAN ANTONIO DIVISION


     In re:                                                         Case No. 22-51475-cag

     4th Avenue Apartments, LLC 1                                   Chapter 11

               Debtor.


              INTERIM ORDER GRANTING THE DEBTOR’S USE OF
         CASH COLLATERAL AND MODIFYING THE AUTOMATIC STAY
 ______________________________________________________________________________

              Upon the motion (the “Motion”) 2 filed by the Debtor, as more fully set forth in the Motion

 and all exhibits and attachments thereto; following a hearing held by the Court on

 ________________, 2022, and upon consideration of the Court’s finding that (i) the Court has

 jurisdiction over this matter pursuant to 28 U.S.C. § 1334; (ii) this is a core proceeding pursuant

 to 28 U.S.C. § 157(b); (iii) venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409;


 1
              The last four digits of the Debtor’s Employment Identification Number is 8487. The Debtor’s mailing
              address is: 2115 Stephens Place, Suite 1100, New Braunfels, TX 78130.

 2
              Capitalized terms not defined herein have the meaning set forth in the Motion.
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 (iv) the Motion is in compliance with all applicable provisions of the Bankruptcy Code,

 Bankruptcy Rules, Bankruptcy Local Rules, and Orders and procedures of this Court; and after

 due deliberation and sufficient cause appearing therefor, it is hereby ORDERED THAT:

        1.      The Debtor shall be authorized to use the funds in its possession to pay its usual

 and necessary expenses as set forth within the Budget pending the final hearing. The Debtor may

 exceed the operating expense line item and any other non-operating expense line item by 10%.

 Any unused amounts in the budget will roll forward and be available in future periods.

        2.      The Debtor shall prepare a budget-to-actuals report by the 20th day after the end of

 each month.

        3.      The Debtor shall maintain insurance for the Property.

        4.      As adequate protection, the Debtor is hereby ordered and directed to make monthly

 interest payments to the Lender as adequate protection, at the contracted rate under the Note, which

 is 10.00% of the mortgaged amount, for a monthly payment of $14,168.00.

        5.      All rents are to be deposited by the Debtor into a debtor in possession account set

 up by the Debtor.

        6.      The Debtor shall file a proposed final order and budget under notice cover sheet by

 _____________________, 2023.

        7.      Any objections to the final cash collateral order shall be filed by

 _____________________, 2023.

        8.      The Court shall conduct a final hearing on _____________________, 2023 at

 _____ by Webex. The Debtor shall be responsible for notice.

        9.      This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.



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